Case

 

IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE

 

SHELIA FAY DYER, a citizen
and resident of Blount County, Tennessee,

Plaintiff,

V. No.
THE HARTFORD d/b/a Hartford Life
Group Insurance Company, an insurance
entity licensed to do business and doing
business in the State of Tennessee, and
WAL-MART STORES, INC.,

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Defendants.

 

COMPLAINT

 

Comes now the Plaintiff, Shelia Fay Dyer, by and through counsel, and for cause of

action Would state as follows:

JURISLDLCTION

l. The Plaintiff, Shelia Fay Dyer, is a citizen and resident of Blount County,
Tennessee.
2. The Defendant, The Hartt`ord (“’Hartford”) is an insurance company With its

principal place of business in Chicago, lL, and may be served With process through the
Tennessee Commissioner of lnsurance, 500 James Robertson Parkway, Nashville, TN 37243.
At all material times Defendant, Harti`ord, acted by and through its agents, servants and/or
employees Who, in turn, Were acting Within the course and/or scope of their agency or

employment

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3. The Defendant, Wal-Mart Stores, lnc. (“Wal-l\/lart”) is a company duly
organized under the laws of Delaware, With its principal place of business at 702 S.W. Sth
Street, Bentonville, Arkansas 72716. Wal-Mart may be served With process through its
registered agent, CT Corporation System’, located at 800 South Gay St. Suite 2012, Knoxville,
Tennessee, 37929. At all material times Def`endant, Wal-l\/lart, acted by and through its agents,
servants and/or employees Who, in turn, Were acting Within the course and/or scope of their
agency or employment

4. The Plaintiff brings this action to recover benefits due for her Long Term
Disability under Hartford’s long term disability insurance policy (“Policy”) pursuant to the
Employrnent Retirement Income Security Act, 29 U.S.C. § 1001 et seq. (ERISA), and
particularly 29 U.S.C. § ll32(a)(l)(B).

5. Jurisdiction over Plaintiff" s claim is conferred on this Honorable Court pursuant

to 29 U.s.C. § 1132(@)(1).

6. Venue over Plaintiff"s claim is conferred on this Honorable Court pursuant to 29
U.S.C. § ll32(e)(2).

7. The Plaintiff at all times relevant to this action Was a “participant” in the Policy
as defined by 29 U.S.C. § 1002(7)

8. The Policy is an “employee Welfare benefit plan” as defined by 29 U.S.C. §
1002(1).

9. The Defendant, Hartford; is a “party in interest” as defined by 29 U.S.C. §
1002(14)(A) and a “named fiduciary” as defined by 29 U.S.C. § 1102(a)(2)(A) Which has the
authority to control and manage the operation and administration of the plan pursuant to 29

U.s.C. § 1102(3)(1).

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10. The Defendant, Wal-Mart, is a "“party in interest” as defined by 29 U.S.C. §
1002(14)(A) and a “named fiduciary’” as defined by 29 U.S.C. § 1102(a)(2)(A) which has the
authority to control and manage the operation and-administration of the plan pursuant to 29
U.S.C. § 1102(a)(1).

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11. Plaintiff worked for Defendant Wal-Mart for a period of approximately 18
years.

12. Plaintiff developed certain physical conditions, including a right-sided brain
shunt to remove excess spinal fluid, right knee replacement, left knee injuries, and diminished
visual capacity, that made it difficult for her to worl<, and ultimately Plaintiff s conditions
resulted in a permanent and total long term disability in which Plaintiff cannot do any work for
which she is or can become qualified by reason of her education, experience or training and is
not expected to be able to continue such work for the duration of her life.

13. On or about May 17, '2011, Plaintiff ceased working due to a long term
disability and submitted a claim to Defendant Hartford for long term disability benefits

14. Effective August 16, 2011, Plaintiff’ s long term disability claim was approved
and she began receiving benefits effective on said date..

15. On or about August 15, 201_2, Plaintiff received a letter indicating that she
would cease receiving long term disability payments effective August 16, 2012.

16. Plaintiff timely appealed the `deniai and cessation of her benefits.

17. By letter dated February 215 2013, Defendant Hartford sent a letter informing
Plaintiff of the appellate review of the adverse prior decision and informed Plaintiff that

benefits are not payable.

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18. Defendants’ decision to deny Plaintiff long term disability benefits under the
Policy was arbitrary and capricious

19. Defendants have failed to provide long term disability benefits due Plaintiff
under the Policy.

20. Defendants have failed to discharge their fiduciary duties with respect to the
Policy solely in the interest of plan participants as required by 29 U.S.C. § 1104(a)(1).

WHEREFORE, premises considered, Plaintiff respectfillly requests this Honorable
Court for the following:

A. A declaration that Defendants have breached their fiduciary duties,
responsibilities, and obligations imposed upon it under ERISA.

B. A declaration that Plaintiff is disabled within the meaning of the Policy and is
entitled to long term disability benefits from the Policy.

C. Order Defendants to pay Plaintiff back benefits due under the Policy.

D. Order Defendants to pay prejudgment interest at the rate set by law on the
disability benefits wrongfully withheld from Plaintiff or, if the amount is greater, order
Defendants to pay her the amounts they have earned on the money wrongfully withheld from
her as other equitable relief.

E. Order Defendants to pay Plaintiff the costs of her suit and reasonable attorney

fees.
F. Grant such other and further relief to which Plaintiff is entitled.
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Respectfully submitted this ue day of April, 2013.

 

 

  

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